(1 of 4), Page 1 of 4         Case: 24-542, 05/24/2024, DktEntry: 14.1, Page 1 of 4




                                                  No. 24-542

                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                             ____________________

                                              KIM RHODE, ET AL.,
                                                            Plaintiffs and Appellees,

                                                       V.

                                 ROB BONTA, IN HIS OFFICIAL CAPACITY AS
                              ATTORNEY GENERAL OF THE STATE OF CALIFORNIA,
                                                          Defendant and Appellant.
                                             ____________________

                              On Appeal from the United States District Court
                                  for the Southern District of California
                                        No. 3:18-cv-00802-BEN-JLB
                                  The Honorable Roger T. Benitez, Judge
                                             ____________________

                                APPELLANT’S EXCERPTS OF RECORD
                                        INDEX VOLUME
                                             ____________________

                ROB BONTA                               MICA L. MOORE
                Attorney General of California          Deputy Solicitor General
                MICHAEL J. MONGAN                       R. MATTHEW WISE
                Solicitor General                       JOHN D. ECHEVERRIA
                HELEN H. HONG                           Supervising Deputy Attorneys General
                Principal Deputy Solicitor General      CHRISTINA R.B. LÓPEZ
                THOMAS S. PATTERSON                     MEGHAN H. STRONG
                Senior Assistant Attorney General       Deputy Attorneys General
                                                        CALIFORNIA DEPARTMENT OF JUSTICE
                                                        300 South Spring Street, Suite 1702
                                                        Los Angeles, CA 90013
                                                        (213) 269-6138
                                                        Mica.Moore@doj.ca.gov
                                                        Attorneys for Defendant and Appellant
               May 24, 2024
(2 of 4), Page 2 of 4       Case: 24-542, 05/24/2024, DktEntry: 14.1, Page 2 of 4




                                    EXCERPTS OF RECORD INDEX

                 File       D. Ct.                Document Description              ER No.
                 Date      Dkt. No.

                                              VOLUME 1 of 4

              1/30/2024      106       Final Judgment                                 2
              1/30/2024      105       January 30, 2024 Decision                    3-34

                                              VOLUME 2 of 4

                            95-1       Declaration of Clayton Cramer In Response    36-50
              10/02/2023               to Declarations of Defendant’s Expert
                                       Witnesses
              8/17/2023     93-1       Declaration of Plaintiff Kim Rhode           51-53
              8/17/2023     93-2       Declaration of Plaintiff Gary Brennan        54-55
              8/17/2023     93-3       Declaration of Plaintiff Cory Henry          56-57
              8/17/2023     93-4       Declaration of Edward Allen Johnson          58-60
              8/17/2023     93-5       Declaration of Denise Welvang                61-62
              8/17/2023     93-6       Declaration of James Gilhousen On Behalf     63-65
                                       of Plaintiff Able’s Sporting, Inc.
              8/17/2023     93-7       Declaration of Dan Wolgin On Behalf of       66-69
                                       Plaintiff AMDEP Holdings, LLC
              8/17/2023     93-8       Declaration of Richard Minnich On Behalf     70-73
                                       of Plaintiff California Rifle & Pistol
                                       Association
              8/17/2023     93-9       Declaration of Jack Mullin                   74-83
              8/17/2023     93-10      Declaration of Kirk Weir                     84-86
              8/17/2023     93-11      Declaration of Muhamed El-Zoghbi             87-90
              8/17/2023     93-12      Declaration of Scott Parker                  91-92
              8/17/2023     93-13      Declaration of Stephen Hoover                93-95
              8/17/2023     93-14      Declaration of Steven Bayrd                  96-98


                                                     2
(3 of 4), Page 3 of 4      Case: 24-542, 05/24/2024, DktEntry: 14.1, Page 3 of 4




                 File      D. Ct.                Document Description              ER No.
                 Date     Dkt. No.
              8/16/2023    92-1       Declaration of Robert Spitzer                99-141
              8/16/2023    92-3       Exhibit B – Table of Weapons Licensing       142-146
                                      Laws
                                      (Declaration of Robert Spitzer)
              8/16/2023    92-4       Exhibit C – License and Licensing Laws       147-285
                                      (Declaration of Robert Spitzer)
              8/16/2023    92-5       Exhibit D – Table of Weapons                 286-288
                                      Forfeit/Confiscation Laws
                                      (Declaration of Robert Spitzer)

                                             VOLUME 3 of 4

              8/16/2023    92-6       Exhibit E – Weapons Forfeit/Confiscation     290-356
                                      Laws
                                      (Declaration of Robert Spitzer)
              8/16/2023    92-7       Declaration of Michael Vorenberg             357-375
              8/16/2023    92-9       Declaration of Jennifer M. McCutchen         376-406
              8/16/2023    92-11      Fifth Supplemental Declaration of Mayra G. 407-434
                                      Morales in Response to the Court’s July 18,
                                      2023 Order
              8/16/2023    92-12      Declaration of Sidney Jones                 435-442
              8/16/2023    92-15      Exhibit 3 – Armed and Prohibited Persons     443-502
                                      System Report 2022
                                      (Declaration of Sidney Jones)
              6/30/2023     88        July 30, 2023 Order                          503-504
              1/11/2023     79        Declaration of John D. Echeverria re:        505-507
                                      Submission of Surveys In Response to The
                                      Court’s December 15, 2022 Order
              1/11/2023    79-1       Exhibit 1 – Defendant’s Survey of Relevant   508-529
                                      Statutes (Pre-Founding – 1888)

                                      (Declaration of John D. Echeverria re:
                                      Submission of Surveys In Response to The
                                      Court’s December 15, 2022 Order)

                                                    3
(4 of 4), Page 4 of 4       Case: 24-542, 05/24/2024, DktEntry: 14.1, Page 4 of 4




                 File       D. Ct.                Document Description               ER No.
                 Date      Dkt. No.
              1/11/2023     79-2       Exhibit 2 – Defendant’s Survey of Relevant    530-540
                                       Statutes (1889-1930s)

                                       (Declaration of John D. Echeverria re:
                                       Submission of Surveys In Response to The
                                       Court’s December 15, 2022 Order)

              4/10/2020      59        Fourth Supplemental Declaration of Mayra      541-561
                                       G. Morales In Support of Defendant’s
                                       Opp. to Plaintiffs’ Motion for Preliminary
                                       Injunction

                                              VOLUME 4 of 4

              2/28/2020      53        Third Supplemental Declaration of Mayra       563-592
                                       G. Morales In Support of Defendant’s
                                       Opp. to Plaintiffs’ Motion for Preliminary
                                       Injunction
              11/18/2019     48        Second Supplemental Declaration of Mayra      593-612
                                       G. Morales In Support of Defendant’s Opp.
                                       to Plaintiffs’ Motion for Preliminary
                                       Injunction
              9/17/2019      42        Supplemental Declaration of Mayra G.          613-627
                                       Morales In Support of Defendant’s Opp. to
                                       Plaintiffs’ Motion for Preliminary
                                       Injunction
               8/5/2019     34-1       Declaration of Mayra G. Morales In            628-645
                                       Support of Defendant’s Opp. to Plaintiffs’
                                       Motion for Preliminary Injunction
              6/12/2018       9        First Amended Complaint                       646-678
              1/31/2024      108       Notice of Appeal                              679-680
                    -         -        Civil District Court Docket Sheet, Rhode v.   681-697
                                       Becerra, No. 3:18-cv-00802-BEN-JLB
                                       (S.D. Cal.), as of May 8, 2024



                                                     4
